  Fill in this informationCase    14-30620
                           to identify the case:     Document 112 Filed in TXSB on 04/05/16 Page 1 of 9
  Debtor 1              Erica Rachelle Richardson
  Debtor 2

  United States Bankruptcy Court for the: Southern District of Texas (Houston)
  Case number           14-30620

Official Form 410S1
Notice of Mortgage Payment Change
If the debtor¶s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the debtor¶s principal residence,
you must use this form to give notice of any changes in the installment payment amount. File this form as a supplement to your proof of claim at least 21 days
before the new payment amount is due. See Bankruptcy Rule 3002.1.

 Name of Creditor: JPMorgan Chase Bank, National Association                            Court claim no. (if known):           9
 Last 4 digits of any number you use to identify                                        Date of payment change:
 the debtor's account:      9036                                                        Must be at least 21 days after date of this notice       05/01/2016
                                                                                        New total payment:
                                                                                                                                                 $1,406.36
                                                                                        Principal, interest, and escrow, if any




Part 1: Escrow Account Payment Adjustment
   1. Will there be a change in the debtor's escrow account payment?
          No
           Yes      Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law.
                    Describe the basis for the change. If a statement is not attached, explain why:



                             Current escrow payment:            $812.81                         New escrow payment:               $655.58

Part 2: Mortgage Payment Adjustment
   2. Will the debtor's principal and interest payment change based on an adjustment to the interest rate in the debtor's variable-
   rate note?
           No
           Yes       Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law.
                     If a notice is not attached, explain why:



           Current interest rate:                                                            New interest rate:
           Current principal and interest payment:                                           New principal and interest payment:




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Part 3:              Case 14-30620
             Other Payment Change                 Document 112 Filed in TXSB on 04/05/16 Page 2 of 9
  3. Will there be a change in the debtor's mortgage payment for a reason not listed above?
           No
           Yes      Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan
                    modification agreement. (Court approval may be required before the payment change can take effect.)
  Reason for change:


           Current mortgage payment:                                        New mortgage payment:



Part 4: Sign Here
The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and telephone number.

Check the appropriate box:
      I am the creditor.
          I am the creditor's authorized agent.

I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my knowledge, information,
and reasonable belief.
      /s/ Michael Harper                                                   Date 04/02/2016
      Vice President



Print: Michael Harper                                                      Title Vice President


Company         JPMorgan Chase Bank, N.A.                                       Specific Contact Information:
Address         Chase Records Center Attn: Correspondence Mail                  Phone: 866-243-5851
                Mail Code LA4-5555 700 Kansas Lane                              Email: michael.s.harper@chase.com
                Monroe, LA 71203




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                              UNITED STATES BANKRUPTCY COURT
                                                      Southern District of Texas (Houston)
                                                                           Chapter 13 No. 14-30620
 In re:                                                                    Judge: Jeff Bohm
 Erica Rachelle Richardson
                                                  Debtor(s).

                                                   CERTIFICATE OF SERVICE
 I hereby certify that this Notice, including all attachments, is being served via filing with the US Bankruptcy Court's CM ECF system on
 April 05, 2016 or by providing a copy of this document to a vendor on April 05, 2016 for mailing thereafter by U.S. Postal Service
 First Class Mail Postage Prepaid to:
 Debtor:                     Erica Rachelle Richardson
                             12206 Preakness Way
                             Houston, TX 77071



 Debtor's Attorney:          Kenneth A Keeling
                             Keeling Law Firm
                             3310 Katy Freeway
                             Suite 200
                             Houston, TX 77007

 Trustee:                    David G Peake
                             Chapter 13 Trustee
                             9660 Hillcroft
                             Suite 430
                             Houston, TX 77096-3856

                                                                           /s/ Michael Harper
                                                                           Vice President




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